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                            I N T H E U N I T E D S TAT E S D I S T R I C T C O U R T
                                 FOR THE DISTRICT OF COLUMBIA


C A P TA I N D A N I E L K N I C K
                                     PlaintifF                       Case No.: 22-cv-I267 BAH



LLOYD J. AUSTIN, III, individually and in his
official capacity as Secretary of Defense;
FRANK KENDALL, III, individually and in his
official capacity as Secretary of the Air Force;
ROBERT I. MILLER, individually and in his
official capacity as Surgeon General of the
Air Force, and
RUDOLF WILHELM KUEHNE, JR.
individually
and in his official capacity as Commander,
Air Force Flight Standards Agency

                                     Defendants


                                       PLAINITFF'S         MOTION     FOR
      TEMPORARY           RESTRAINING            ORDER      AND    PRELIMINARY          INJUNCTION


        COMES NOW, Plaintiff, Captain Daniel Knick, (hereinafter "Plaintiff Officer"),

pursuant to Rule 65 of the Federal Rules of Civil Procedure and Local Civil Rule 65.1,

respectfiilly moves this Honorable Court to enter a temporary restraining order ("TRO") and for

a preliminary injunction, seeking to enjoin enjoin the challenged vaccine mandate' and all

adverse consequences^ Defendants have imposed, or intend to impose, upon Plaintiff for



' Department of Defense's August 24,2021 Order, Department of Air Force's September 3,
2021 Order, President Biden's September 9,2021 Executive Order 14043, Department of
Defense's October 1, 2021 Order, and Department of Air Force's October 8,2021 Order,
(collectively, the "Mandates"); October 19,2021; Decision Regarding Religious
Accommodation Request, issued by defendant Rudolf Wilhelm Kuehne denying the request of
Plaintiff Air Force Officer; December 2,2021, Decision on Religious Accommodation Appeal,
issued by defendant Robert I. Miller denying Plaintiff Air Force Officer's appeal of the
command denial of his request for a religious accommodation exemption/waiver to
vaccines/immunizations.


 March 14,2022, Letter of Reprimand issued by defendant Rudolf Wilhelm Kuehne; April 7,

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objecting to the mandate based upon sincerely held religious beliefs. Plaintiff Officer

incorporates herein by reference the facts and claims laid out in the Complaint. Plaintiff Officer

further submits the following Statement of Facts and incorporates the Memorandum of Law in

Support of this motion and Plaintiff Officer's Declaration ("Decl.") and exhibits thereto.

       On May 12,2022, counsel for the parties conferred with respect to the relief sought in the

instant motion. Coimsel for the Defendants have advised that they oppose the relief sought in this

Motion for a Preliminary Injunction The parties have agreed to a proposed schedule to brief the

motion, and they will be respectfully submitting a joint motion requesting that the Court adopt

this schedule.


       The basis for Plaintiff Officer's Complaint is that the vaccine mandates, facially and as

applied to Plaintiff Officer and others, violate and/or constitute:

       (1) the Religious Freedom Restoration Act of 1993 ("RFRA") by substantially burdening

       the religious exercise of Plaintiff and other service members without being narrowly

       tailored to serve a compelling governmental interest;

       (2) the First Amendment to the United States Constitution by depriving Plaintiff and

       other service members of their rights freely to exercise their religion, because the

       Mandates are not generally applicable and are not narrowly tailored to serve a compelling

       governmental interest; and,

       (3) the Administrative Procedure Act by arbitrarily and capriciously violating the

       military's own regulation, AFl 48-110.

       (4) Retaliation in violation of Title Vll of the Civil Rights Act of 1964 and Violation of



2022, defendant Rudolf Wilhelm Kuehne submitted a record of Promotion Propriety Action,
removing Plaintiff Air Force Officer from the promotion list although Plaintiff Air Force Officer
had already been selected for promotion to Major.

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       the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb et seq. in seeking to prevent

       an earned promotion because of the filing of a request for a religious accommodation.

       (5) the Equal Protection and Due Process guarantees of the Fifth Amendment to the U.S.

       Constitution by instituting a process to review requests for religious accommodations to

       the vaccine requirement, such process known as the Religious Resolution Teams

       ("RRT"), that fails to meet constitutional standards.

       WHEREFORE, Plaintiff Officer hereby requests that the Court grant this motion

and enter a preliminary injimction enjoining Defendants from (1) enforcing against Plaintiff

Officer any order or regulation requiring COVlD-19 or other vaccination and (2) from instituting

or enforcing any adverse or retaliatory action against Plaintiff Officer as a result of, arising from,

or in conjunction with Plaintiff Officer's sincerely held religious objection to the COVID-19 or

other vaccination mandate, his request for a religious exemption from the vaccine mandate, or

pursuing this action or any other action for relief under RFRA, Title VII of the Civil Rights Act,

the Administration Procedures Act or the First and Fifth Amendments.




                                                       Respectfully submitted.


                                                         /s/ Jeremv H. Gonzalez Ibrahim
DATE: May 13,2022                                      Jeremy H. Gonzalez Ibrahim
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                                 C E RT I F I C AT E       OF   SERVICE


        I hereby certify that on May 13,2022, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties for whom counsel has entered an appearance by

operation of the court's electronic filing system. Parties may access this filing through the court's

system. 1 further certify that a copy of the foregoing has been served by ordinary U.S. mail upon

all parties for whom counsel have not yet entered an appearance electronically: None.


                                                                /s/ Jeremv H. Gonzalez Ibrahim
DATE: May 13, 2022                                          Jeremy H. Gonzalez Ibrahim
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